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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                     *
                                              *
                v.                            *
                                              * CRIMINAL NO. ELH-20-0361
 JAMES IAN PICCIRILLI and                     *
 KELLIE NICOLE WARFIELD,                      *
                                              *
        Defendants.                           *
                                              *
                                           *******

                        CONSENT MOTION TO EXCLUDE TIME
                          UNDER THE SPEEDY TRIAL ACT

       The United States of America respectfully submits this Consent Motion to Exclude Time

Under the Speedy Trial Act and states as follows:

       1.      On October 6, 2020, U.S. Magistrate Judge Thomas M. DiGirolamo authorized

criminal complaints charging Defendants James Ian Piccirilli and Kellie Nicole Warfield with

failing to surrender for service of a federal sentence and aiding and abetting in violation of

18 U.S.C. § 3146(a)(2) and 18 U.S.C. § 2. On October 21, 2020, a federal grand jury in the

District of Maryland returned an indictment charging the Defendants with the same offense.

       2.      Both Defendants were arrested in Indiana on October 13, 2020, and they made their

initial appearances in the Southern District of Indiana the following day. Since the Defendants’

arrival in Maryland, the following has happened:

               a.     On November 13, 2020, Mr. Piccirilli made his initial appearance in the
                      District of Maryland, and he consented to detention; and

               b.     On November 13, 2020, Ms. Warfield made her initial appearance in the
                      District of Maryland; after a detention hearing and a detention review
                      hearing, the Court ordered Ms. Warfield’s release on conditions on
                      December 9, 2020.
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       3.      No dates have been scheduled yet in this case.

       4.      The Speedy Trial Act requires a trial within 70 days of a defendant’s indictment or

initial appearance, whichever is later. 18 U.S.C. § 3161(c)(1). The Act also provides for various

circumstances under which time may be excluded from the speedy trial computation—for

example, upon a finding by the Court that “the ends of justice served by taking such action

outweigh the best interest of the public and the defendant in a speedy trial.” Id. § 3161(h)(7)(A).

       5.      On March 12, 2020, however, to prevent the spread of COVID-19, Chief Judge

James K. Bredar entered an order postponing all criminal jury trials and finding that the

continuances resulting from the standing order were to be excluded under the Speedy Trial Act

during that period. See Standing Order No. 2020-07, In re Standing Orders, Misc. No. 20-308,

ECF No. 99. Criminal jury trials did not resume in the District of Maryland until August 2020.

       6.      Then, on November 11, 2020, in response to increasing COVID-19 positivity rates,

Chief Judge Bredar again suspended all in-court proceedings for two weeks beginning on

November 16, 2020, effectively postponing all jury trials scheduled during that period. See

Standing Order No. 2020-20, In re Standing Orders, Misc. No. 00-308, ECF No. 119. On

January 4, 2021, the Court extended that restriction through February 26, 2021. See Standing

Order No. 2021-01, In re Standing Orders, Misc. No. 00-308, ECF No. 123.

       7.      Here, the Government asks that the period from January 31, 2021, to April 12, 2021,

be excluded from computation under the Act. Such an exclusion serves the interests of justice,

and it outweighs the interests of the public and Defendants in a speedy trial. First, the parties have

been engaged in meaningful plea negotiations. The period will account for the time that COVID-

19 is anticipated to delay trial or impair defense counsel’s communications with Defendants, which

may affect the parties’ ability to reach an agreement. Second, should plea discussions fail, the



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requested exclusion will give the parties sufficient time to prepare for trial.

       8.      Counsel for both Defendants consent to the requested exclusion of time.

       WHEREFORE, the Government respectfully requests that this Court exclude time under

the Speedy Trial Act for the period from January 31, 2021, to April 12, 2021.

                                                       Respectfully submitted,

                                                       Jonathan F. Lenzner
                                                       Acting United States Attorney

Date: February 24, 2021                                               /s/
                                                       Brandon Moore
                                                       Patricia McLane
                                                       Assistant United States Attorneys
                                                       36 S. Charles Street, Fourth Floor
                                                       Baltimore, Maryland 21201
                                                       Phone: (410) 209-4800




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 24, 2021, a copy of the foregoing motion was

served via CM/ECF to all counsel of record.



                                                                  /s/
                                                  Brandon Moore
                                                  Assistant United States Attorney




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